Case 2:05-cv-02300-.]PI\/|-STA Document 24 Filed 08/03/05 Page 1 of 2 Page|D 19

  

UNITED STATES DlsrRlCT COURT F‘UED BY .§.%_._ u.c.
FoR THE WESTERN DISTRICT oF TENNESSEE
WESTERN DIVISION 95 AUG -3 AH |0= |7
Roy Alinsub and Minicent Viva, ) mofd”§ M. GOULD
on behalf of themselves and ) CLE&£/<b%} 7 j
all others similarly situated, ) * ’ 1 ' " `
)
Plaintiffs, )
)
v. ) Case No. 05-2300 MI An
)
T-MOBILE, and )
T-MOBILE USA, )
)
Defendants. )

M ORDER CONTINUING SCHEDULING CONFERENCE

Upon plaintiffs’ and defendant’s Joint Motion to Continue Scheduling Conference and
for good cause shown, this Court finds that Said motion Should be granted.

IT IS THEREFORE ORDERED that the Scheduling Conference in this case which is
currently scheduled for July 27, 2005 is hereby continued until such time as the Court has ruled
on Defendant’s Motion to Dismiss Plaintiffs’ Claims and Compel Arbitration and Plaintiffs’
Motion to Remand with said conference to be rescheduled and the deadline for the submission of
a Scheduling Order to be reset at such time.

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hal

S. Thomas Anderson, Judge

2 /'
Date

This document entered on the docket sheet in compliance
with Hule 58 and!or 79(3) FHCP on '5'0

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 2:05-CV-02300 Was distributed by faX, mail, or direct printing on
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ESSEE

 

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Honorable J on McCalla
US DISTRICT COURT

